            Case 2:19-cv-05230-JP Document 65 Filed 09/22/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 RALPH “TREY” JOHNSON, ET AL.,                  :             CIVIL ACTION
 individually and on behalf of all persons      :
 similarly situated                             :
                                                :
                     v.                         :
                                                :
 NATONAL COLLEGIATE ATHLETIC                    :
 ASSOCIATION, ET AL.                            :             NO. 19-5230

                                             ORDER

       AND NOW, this 22nd day of September, 2021, upon consideration of the “Motion of the

NCAA and Non-Attended School Defendants to Dismiss First Amended Complaint” (Docket No.

26), all documents filed in connection therewith, and for the reasons stated in the accompanying

Memorandum, IT IS HEREBY ORDERED that the Motion is GRANTED IN PART AND

DENIED IN PART as follows.

1.     The Motion is GRANTED as to the Non Attended School Defendants as follows:

       a.       The Motion is GRANTED as to Count I of the First Amended Complaint and that

Count is DISMISSED WITH PREJUDICE as against the following Defendants: Bucknell

University, Duquesne University, Fairleigh Dickinson University, La Salle University, Lehigh

University, Monmouth University, Princeton University, Rider University, Robert Morris

University, Seton Hall University, Saint Francis University, Saint Joseph’s University, Saint

Peter’s University, the University of Delaware, Pennsylvania State University, the University of

Pittsburgh, Rutgers State University of New Jersey, and Temple University;

       b.       Count I of the First Amended Complaint is DISMISSED WITHOUT

PREJUDICE as against the following Defendants: Drexel University and the University of

Pennsylvania;
            Case 2:19-cv-05230-JP Document 65 Filed 09/22/21 Page 2 of 2




       c.      The Motion is GRANTED as to Count II of the First Amended Complaint and that

Count is DISMISSED WITH PREJUDICE as against Bucknell University, Drexel University,

Duquesne University, La Salle University, Lehigh University, Robert Morris University, Saint

Francis University, Saint Joseph’s University, the University of Pennsylvania, Pennsylvania State

University, the University of Pittsburgh, and Temple University;

       c.      Count II of the First Amended Complaint is DISMISSED WITHOUT

PREJUDICE as against Drexel University and the University of Pennsylvania;

       d.      The Motion is GRANTED as to Counts IV and V of the First Amended Complaint

and those Counts are DISMISSED WITH PREJUDICE as against Colgate University, Canisius

College, Columbia University, Manhattan College, Iona College, Marist College, Hofstra

University, Long Island University, Brooklyn College, Niagara University, St. John’s University,

Siena College, St. Bonaventure University, St. Francis College Brooklyn, Syracuse University,

and Wagner College;

       e.      The Motion is GRANTED as to Count VII of the First Amended Complaint and

that Count is DISMISSED WITH PREJUDICE as against Fairfield University, the University

of Hartford, Quinnipiac University, and Yale University.

2.     The Motion is DENIED in all respects as against the National Collegiate Athletic

Association.

                                                    BY THE COURT:



                                                    /s/ John R. Padova
                                                    ____________________________
                                                    John R. Padova, J.




                                               2
